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 8                                  UNITED STATES DISTRICT COURT

 9                                  EASTERN DISTRICT OF CALIFORNIA

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11   UNITED STATES OF AMERICA,                      No. 2:15-cr-00176-7-TLN
12                     Plaintiff,
13          v.                                      ORDER GRANTING DEFENDANT’S
                                                    MOTION FOR JUDICIAL
14   AMBER COLLINS,                                 RECOMMENDATION FOR TWELVE
                                                    MONTHS COMMUNITY
15                     Defendant.                   CORRECTIONAL FACILITY
                                                    PLACEMENT
16

17
            This matter is before the Court pursuant to Defendant Amber Collin’s (“Defendant”)
18
     Motion for Judicial Recommendation for Twelve Months of Community Correctional Facility
19
     Placement. (ECF No. 317.) Defendant’s motion seeks a judicial recommendation to the Federal
20
     Bureau of Prisons (“BOP”) for placement in a community correctional facility (halfway house or
21
     home detention) for 12 months preceding her release from confinement. (ECF No. 317 at 1.)
22
     The Government has filed a statement of non-opposition. (ECF No. 318.) The Court has
23
     carefully considered Defendant’s arguments. For the reasons set forth below, Defendant’s
24
     Motion for Judicial Recommendation, (ECF No. 317), is hereby GRANTED.
25
            I.     PROCEDURAL HISTORY
26
            On April 27, 2017, Defendant pled guilty to Count 1 of the Indictment, charging
27
     Conspiracy to Commit Access Device Fraud, in violation of 18 U.S.C. 1029(b)(2). (ECF No.
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                                                    1
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 1   159.) On March 1, 2018, the undersigned sentenced Defendant to a term of 30 months in prison

 2   followed by three years of supervised release. (ECF No. 316.) Following sentencing, Defendant

 3   submitted this motion for judicial recommendation for the maximum 12-month placement in a

 4   community correctional facility (halfway house or home detention). (ECF No. 317 at 1–2.)

 5            II.    LEGAL STANDARD

 6            “Two statutory provisions govern the BOP’s authority to place inmates in its custody in

 7   RRCs: 18 U.S.C. §§ 3621(b) and 3624(c).” Sacora v. Thomas, 628 F.3d 1059, 1062 (9th Cir.

 8   2010). Section 3621(b) “governs the BOP’s authority in cases where a prisoner who has more

 9   than a year left to serve his or her prison sentence requests a transfer to a [RRC].” Id. Section

10   3624(c)(1), as amended by the Second Chance Act of 2007, provides that the BOP

11                   shall, to the extent practicable, ensure that a prisoner serving a term
                     of imprisonment spends a portion of the final months of that term
12                   (not to exceed 12 months), under conditions that will afford that
                     prisoner a reasonable opportunity to adjust to and prepare for the
13                   reentry of that prisoner into the community. Such conditions may
                     include a community correctional facility.
14

15   18 U.S.C. § 3624(c)(1). A sentencing court may make a recommendation that a prisoner serve a

16   term of imprisonment in an RRC. 18 U.S.C. § 3621(b). A judicial recommendation is one factor

17   that the BOP considers in determining a prisoner’s placement, but a recommendation has “no

18   binding effect” on the BOP to determine or change a prisoner’s placement. 18 U.S.C. § 3621(b).

19            III.   ANALYSIS

20            Defendant states early release into a halfway house will enable her “to return to work to
21   support her family while still residing in a secure setting, and to have more contact with her

22   children.” (ECF No. 317 at 2.) Defendant argues “[s]he has demonstrated extraordinary

23   rehabilitation, and does not pose a threat to public safety.” (ECF No. 317 at 2.) Defendant

24   argues the progress she has made toward rehabilitation demonstrate that she is “an excellent

25   candidate for early release into a halfway house.” (ECF No. 317 at 2.) The government filed a

26   statement stating it does not oppose Defendant’s request. (ECF No. 318 at 2.)
27   ///

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 1          Accordingly, Defendant’s Motion for Judicial Recommendation, (ECF No. 317), is hereby

 2   GRANTED, and the Court recommends that BOP place Defendant in an appropriate pre-release

 3   placement for the maximum time for which she is eligible, not to exceed 12 months.

 4          IT IS SO ORDERED.

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 6   Dated: March 5, 2018

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 9                                             Troy L. Nunley
                                               United States District Judge
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